Case 2:24-cv-01407-WSS Document 34-2

Generated: Nov 8, 2024 4:09PM

Zheng Liu

Rept. No: 200011647

cD Purpose

111 Pro Hac Vice

cD Tender

ce Credit Card

Comments: 2:24-1407

Filed 11/12/24 Page1of1

Page 1/1

U.S. District Court

Pennsylvania Western - Pittsburgh

THIS 1S A COPY
Receipt Date: Nov 8, 2024 3:54PM

Trans. Date: Nov 8, 2024 3:54PM Cashier ID: #ET
Case/Party/Defendant Oty Price Amt
DPAW210ATTYPHVS /001
CLERK, U.S, DISTRICT COURT 1 70.00 70.00

Amt

$70.00

Tota! Due Prior to Payment: $70.00
Total Tendered: $70.00

Total Cash Received: $0.00

Cash Change Amount: $0.00

Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt officially paid or discharged. A $53 fee
will be charged for a returned check.
